Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 1 of 44




    EXHIBIT MF-35
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 2 of 44




012334563
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 3 of 44




012334565
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 4 of 44




012334566
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 5 of 44




012334564
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 6 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 7 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 8 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 9 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 10 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 11 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 12 of 44




012334543
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 13 of 44




012334545
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 14 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 15 of 44




012334544
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 16 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 17 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 18 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 19 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 20 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 21 of 44




012334546
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 22 of 44




012334563
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 23 of 44




012334565
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 24 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 25 of 44




012334564
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 26 of 44




012334566
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 27 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 28 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 29 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 30 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 31 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 32 of 44




012334563
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 33 of 44




012334565
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 34 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 35 of 44




012334564
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 36 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 37 of 44




012334566
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 38 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 39 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 40 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 41 of 44




012334567
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 42 of 44




012334563
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 43 of 44




012334565
            Case 2:21-cv-00920-JLR Document 28-35 Filed 04/11/23 Page 44 of 44




012334567
